      2:21-cv-02923-DCN         Date Filed 09/10/21           Entry Number 1   Page 1 of 12




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


WELCOME HOTELS OF SOUTH                                   )
CAROLINA, INC. d/b/a COMFORT INN                          )
DOWNTOWN CHARLESTON,                                      )          2:21-cv-02923-DCN
                                                          )
       Plaintiff,                                         )
v.                                                        )
                                                          )
MT. HAWLEY INSURANCE COMPANY,                             )
and AEGIS SYNDICATE 1225 AT LLOYDS,                       )
                                                          )
       Defendants.                                        )


                    COMPLAINT FOR DAMAGES AND JURY DEMAND

       Plaintiff, WELCOME HOTELS OF SOUTH CAROLINA, INC. d/b/a COMFORT INN

DOWNTOWN CHARLESTON (hereinafter, “WELCOME”), by and through the undersigned

counsel, files this Complaint for damages against defendants MT. HAWLEY INSURANCE

COMPANY (hereinafter, “MT. HAWLEY”) and AEGIS SYNDICATE 1225 AT LLOYDS

(hereinafter, “AEGIS”) and states as follows:

                                JURISDICTION AND VENUE

       1.      The subject cause of action occurred in Charleston, Charleston County, South

Carolina, and appropriate venue is in the Charleston Division of this Court.

       2.      The Court has jurisdiction under 28 U.S.C. § 1332 in that the amount in controversy

in over $75,000 and the parties are domiciled in different states.

                                            PARTIES

       3.      At all times relevant herein, WELCOME has been a South Carolina Corporation

with its principal place of business in Charleston, South Carolina.



                                                1 of 12
      2:21-cv-02923-DCN          Date Filed 09/10/21         Entry Number 1    Page 2 of 12




       4.      At all times relevant herein, WELCOME owned and managed a Comfort Inn Hotel

located at 144 Bee Street, Charleston, South Carolina (hereinafter, the “Hotel”).

       5.      MT. HAWLEY is an Illinois property and casualty insurance company with its

principal place in business in Peoria, Illinois.

       6.      MT. HAWLEY is a South Carolina authorized property and casualty insurer.

       7.      AEGIS is a foreign property and casualty insurer with its principal place of business

in London, England.

                                   GENERAL ALLEGATIONS

        8.     On or about March 1, 2018, WELCOME purchased a policy of commercial

property insurance for losses specific to Windstorm or Hail from MT. HAWLEY under Policy

Number MWH0080455 (the “Mt. Hawley Policy"), which covered WELCOME and the Property

for specified losses to the Building, Business Personal Property, and Business Income/Rental

Value, among others. [A true and accurate copy of the Mt. Hawley Policy applicable to the date of

loss is attached hereto and incorporated herein as Exhibit “A”.]

       9.      Each year thereafter, WELCOME has paid for, and Mt. Hawley has issued, a

renewal of the Policy, up to and including March 1, 2020.

       10.     WELCOME has paid all Policy premiums that have become due during the initial

term, and all subsequent renewal terms thereafter.

       11.     Accordingly, MT. HAWLEY has provided coverage under the Policy for

WELCOME and the Property from March 1, 2018, through March 1, 2020.

       12.     In addition, during such period, WELCOME purchased a Policy from AEGIS,

under Policy Number 18N3171200187 (the “Aegis Policy”), which pays the difference between

the deductible of the Mt. Hawley Policy, and the insureds retention of $50,000.00, for named wind


                                                   2 of 12
      2:21-cv-02923-DCN            Date Filed 09/10/21      Entry Number 1       Page 3 of 12




perils only. [A true and accurate copy of the Aegis Policy applicable to the date of loss is attached

hereto and incorporated herein as Exhibit “B”.]

       13.       On or about September 4-6, 2019, the Mt. Hawley Policy and the Aegis Policy

combined to provide coverage to WELCOME and the Property for wind perils, including

hurricanes.

       14.        On or about September 4-6, 2019, Hurricane Dorian made landfall in the

Charleston South Carolina area with sustained winds, causing devastation to the community, and

substantial wind damage and resulting loss to the Property.

       15.       On or about September 10, 2019, WELCOME made a claim for loss from

Hurricane Dorian and related wind damage with MT. HAWLEY, who assigned it claim number

00474444 with a date of loss of September 5, 2019 (the “Claim”).

       16.       The Mt. Hawley Policy covered windstorm or hail claims subject to the following

terms, among others:

              1. AGREEMENT

              We will pay for direct physical loss or damage to Covered Property Caused by
              or resulting from a Covered Cause of Loss.

              Throughout this policy the words "you" and "your" refer to the Named Insured
              shown in the Declarations. The words "we," "us" and "our" refer to the
              Company providing this insurance.

              In return for your payment of the required premium, we provide the coverage
              described herein at the locations named in the Declarations and/or the endorsed
              Schedule of Locations, subject to all the terms of this policy. This includes the
              Declarations, as well as any endorsements and schedules attached to and made
              a part of this policy.

              In return for your payment of the required premium, we provide the coverage
              described herein at the locations named in the Declarations and/or the endorsed
              Schedule of Locations, subject to all the terms of this policy. This includes the
              Declarations, as well as any endorsements and schedules attached to and made
              a part of this policy.

                                                 3 of 12
      2:21-cv-02923-DCN          Date Filed 09/10/21      Entry Number 1          Page 4 of 12




             Refer to Definitions for words and phrases that have special meaning. These
             words and phrases are shown in quotation marks.

             2. COVERED PROPERTY

             We will pay for direct physical loss of or damage to Covered Property at the
             premises described in the Declarations, from the peril(s) of windstorm and/or
             hail.

             Covered Property, as used in this policy, means the type of property described
             in this section if a Limit of Insurance is shown in the Declarations for that
             type of property.

                    A. Buildings and Structures, meaning:
                       1. Additions;
                       2. Fixtures;
                       3. Machinery and equipment if the machinery and equipment is a
                       permanent part of a covered building or structure.

                    B. Business Personal Property, meaning:
                        1. Furniture and fixtures;
                        2. Machinery and equipment;
                        3. "Stock";
                        4. All other personal property owned by you and used in your
                                business;
                        5. Improvements and betterments meaning fixtures, alterations,
                        installations or additions comprising part of a building(s) occupied
                        but not owned by you and made at your expense.

       17.      On or about September 6, 2019, WELCOME retained Indiana Public Adjusting,

Inc. and Jay Hatfield (“IPA”), to assist with the Claim as its public adjuster.

       18.      On or about September 17, 2019, IPA arranged an inspection of the Property with

MT. HAWLEY’s adjuster.

       19.      On or about January 2, 2020, MT. HAWLEY sent IPA a letter discussing coverages

as well as the inspection, but it did not formally accept or deny coverage for the loss. [A true copy

of the January 2, 2020, letter from MT. HAWLEY is attached hereto as Exhibit “C”.]

       20.      Thereafter, IPA sent several letters to MT. HAWLEY attempting to confirm

whether or not MT. HAWLEY was accepting coverage for the loss, and if so, what was the

                                               4 of 12
      2:21-cv-02923-DCN         Date Filed 09/10/21       Entry Number 1       Page 5 of 12




undisputed scope of loss.

       21.     On or about January 13, 2020, MT. HAWLEY sent IPA an email, and while not

formally accepting coverage for the loss, made clear that MT. HAWLEY agreed that the Property

sustained damage from Hurricane Dorian.

       22.     On or about February 6, 2020, MT. HAWLEY provided IPA and WELCOME with

a repair estimate for the loss, however, said estimate did not include significant amounts of storm

damage that was evident in the inspection.

       23.     On or about May 15, 2020, WELCOME received a letter from Crawford &

Company, on behalf of AEGIS, which provided that it had determined that the Property sustained

a “covered wind loss” and issued payment to WELCOME in the amount of $59,156.15. [A true

copy of the May 15, 2020, letter from Crawford & Company is attached hereto as Exhibit “D”.]

       24.     As a result of Defendant’s refusal to pay for substantial storm-related repairs to

WELCOME’s Property, WELCOME was compelled to retain an engineer, George Barbour &

Associates, who inspected the Property on June 5, 2020.

       25.     On or about October 18, 2020, IPA provided MT. HAWLEY with a complete

engineering report of George Barbour & Associates (the “Barbour Report”), which detailed the

extensive damages caused to the Property by Hurricane Dorian.

       26.     Thereafter, IPA has attempted to work with MT. HAWLEY AND AEGIS to come

to an agreed scope of loss and damage estimate, without success.

       27.     Since initiating the Claim, WELCOME, either individually or through IPA has

produced all documentation requested by MT. HAWLEY and/or AEGIS to the extent that the

documents were in its possession or could be obtained through other sources.

       28.     WELCOME has fully complied with all terms and conditions precedent under the


                                              5 of 12
      2:21-cv-02923-DCN         Date Filed 09/10/21      Entry Number 1      Page 6 of 12




Mt. Hawley Policy and the Aegis Policy pertaining to the provision of coverage and/or the issuance

of payment for all losses identified in the Claim.

       29.     WELCOME has not waived or excused the Defendants non-performance of their

obligations under the Policy.

       30.     WELCOME has satisfied any and all preconditions to filing suit, or the same have

been waived by the Defendants.

       31.     WELCOME has an insurable interest in the Property that was damaged or

destroyed as a result of the forementioned wind event.

       32.     At all times relevant hereto, MT. HAWLEY has acted by and through its employees

and designated agents in its handling of the Claim.

       33.     At all times relevant hereto, AEGIS has acted by and through its employees and

designated agents in its handling of the Claim.

                   COUNT I – BREACH OF CONTRACT/NEGLIGENCE

       1-33.    WELCOME repeats and re-alleges rhetorical paragraphs 1-33, as if fully

reincorporated herein.

       34.     The Mt. Hawley Policy is a valid contract between the WELCOME and MT.

HAWLEY.

       35.     In addition to the provisions in the policy, amendments and endorsements, the Mt.

Hawley Policy further includes additional provisions required by law, as well as an obligation by

Mt. Hawley to exercise a covenant of good faith and fair dealing toward WELCOME.

       36.     MT. HAWLEY has breached its Contract with WELCOME in one or more of

the following ways:

               a. Misrepresenting the terms and conditions of coverage;


                                              6 of 12
        2:21-cv-02923-DCN          Date Filed 09/10/21   Entry Number 1      Page 7 of 12




               b. Deceiving WELCOME regarding its scope of loss and what it had agreed to

                  pay;

               c. Failing and refusing to identify an agreed scope of damages for which it agreed

                  there was coverage;

               d. Unnecessarily delaying the investigation and determination of the scope of loss;

               e. Misrepresenting facts relating to the loss and MT. HAWLEY’s purported

                  investigation thereof;

               f. Failing and refusing to pay for, or otherwise properly adjust WELCOME’S

                  damaged Property, without legal excuse or justification;

               g. Unnecessarily delaying the handling of the Claim, without legal excuse or

                  justification;

               h. Failing to comply with its obligations under the Mt. Hawley Policy;

               i. Failing and refusing to pay WELCOME for its loss in accordance with the terms

                  and conditions of the Mt. Hawley Policy; and

               j. Failing to exercise good faith and fair dealing in its handling of WELCOME’s

                  Claim.

         37.   MT. HAWLEY further negligently failed to exercise reasonable care in the

handling of WELCOME’S claim.

         38.   AEGIS has breached its Contract with WELCOME in one or more of the following

ways:

               A. Failing and refusing to identify an agreed scope of damages for which it agreed

                  there was coverage;

               k. Unnecessarily delaying the investigation and determination of the scope of loss;


                                              7 of 12
      2:21-cv-02923-DCN             Date Filed 09/10/21   Entry Number 1      Page 8 of 12




               l. Misrepresenting facts relating to the loss and AEGIS’s purported investigation

                   thereof;

               m. Failing and refusing to pay for, or otherwise properly adjust WELCOME’S

                   damaged Property, without legal excuse or justification;

               n. Unnecessarily delaying the handling of the Claim, without legal excuse or

                   justification;

               o. Failing to comply with its obligations under the Aegis Policy;

               p. Failing and refusing to pay WELCOME for its loss in accordance with the terms

                   and conditions of the Aegis Policy; and

               q. Failing to exercise good faith and fair dealing in its handling of WELCOME’s

                   Claim.

       39.     AEGIS further negligently failed to exercise reasonable care in the handling of

WELCOME’S claim.

       40.     The Mt. Hawley Policy included an endorsement that provided as follows with

respect to the filing of a claim or lawsuit:

       WINDSTORM OR HAIL LOSS REPORTING LIMITATION ADDENDUM

       Regardless of anything to the contrary in the policy to which this endorsement is
       attached, the following limitations apply in reference to reporting of claims under
       this policy:

       1.      With respect to loss or damage caused by windstorm or hail, including any
       named storm, any claim must be filed with us not later than one year after the date
       of the loss or damage that is the subject of the claim, except that a claim may be
       filed after the first anniversary of the date of the loss or damage for good cause
       shown by the person filing the claim; and

       2.     Any legal action brought against us under the policy for loss or damage
       caused by windstorm or hail must be brought within the earlier of the following:

       a.      Two years and one day from the date we accept or reject the claim; or


                                               8 of 12
      2:21-cv-02923-DCN            Date Filed 09/10/21      Entry Number 1        Page 9 of 12




          b.      Three years and one day from the date of the loss or damage that is the
          subject of the claim.


          41.    As a direct and proximate result of the Defendants’ breach of contract and/or

negligence in handling WELCOME’s Claim, WELCOME has suffered consequential damages,

including but not limited to:

                 A.      The loss of property without indemnification provided for in the respective

policies;

                 B.      The loss of use of property and other insurance benefits;

                 C.      The increased cost to repair and/or replace the property insured; and

                 D.      Other consequential damages.

          WHEREFORE, Plaintiff WELCOME HOTELS OF SOUTH CAROLINA, INC. d/b/a

COMFORT INN DOWNTOWN CHARLESTON, by counsel, respectfully requests judgment in

its favor and against defendants, MT. HAWLEY INSURANCE COMPANY and AEGIS

SYNDICATE 1225 AT LLOYDS, and further requests the following relief:

                 A. For the payment of all proceeds available and due under the Mt. Hawley Policy

                      Aegis Policy;

                 B. For all reasonable compensatory and consequential damages;

                 C. For recoverable pre-judgment and post-judgment interest; and recoverable

                      attorney fees and costs, and

                 D. For all other just and proper relief in the premises.

                COUNT II – BAD FAITH/BREACH OF COVENANT OF GOOD FAITH

          1-41. Plaintiff repeats and re-alleges rhetorical paragraphs 1-41, as if fully reincorporated

herein.

                                                 9 of 12
     2:21-cv-02923-DCN           Date Filed 09/10/21        Entry Number 1     Page 10 of 12




       42.           In addition to breaching its contract with WELCOME, MT. HAWLEY and

AEGIS further breached their covenant of good faith and fair dealing with WELCOME in one or

more of the following manners:

               a.       By making an unfounded refusal to pay policy proceeds to WELCOME;

               b.       By causing an unfounded delay in making payment to WELCOME;

               c.       By misrepresenting the terms and conditions of coverage under their

respective policy;

               d.       By deceiving WELCOME regarding what it had agreed to pay;

               e.       By failing and refusing to identify an agreed scope of damages for which it

                        agreed there was coverage;

               f.       By failing and refusing to pay for necessary temporary emergency repairs

                        or remediation;

               g.       By    unnecessarily delaying        the   investigation, adjustment and/or

                        determination of the scope of loss;

               h.       By misrepresenting facts relating to the loss and defendants’ purported

                        investigation thereof;

               i.       By failing and refusing to pay for, or otherwise properly adjust

                        WELCOME’S damaged roof, without legal excuse or justification;

               j.       By unnecessarily delaying the handling of the Claim, without legal excuse

                        or justification;

               k.       By failing and refusing to comply with its obligations under the Policy;

               l.       By failing and refusing to make a timely claim decision after WELCOME

                        submitted its Proof of Loss;


                                                 10 of 12
     2:21-cv-02923-DCN         Date Filed 09/10/21      Entry Number 1       Page 11 of 12




              m.      By failing and refusing to properly inspect or investigate the nature and

                      extent of damage to the roof;

              n.      By failing and refusing to comply with the appraisal provision of the Policy;

              o.      By attempting to exercise any unfair advantage to pressure WELCOME

                      into a settlement of its claim;

              p.      By compelling WELCOME to institute litigation to protect its policy

                      benefits due under the policy; and

              q.      By otherwise failing and refusing to exercise good faith and fair dealing in

                      its handling of WELCOME’s Claim.

       43.    Defendant’s actions were made in bad faith and/or a breach of the covenant

of good faith and fair dealing to WELCOME and have resulted in additional injury and damage to

WELCOME, including but not limited to consequential damages.

       WHEREFORE, WELCOME HOTELS OF SOUTH CAROLINA, INC. d/b/a COMFORT

INN DOWNTOWN CHARLESTON, by counsel, respectfully requests judgment in its favor and

against MT. HAWLEY INSURANCE COMPANY and AEGIS SYNDICATE 1225 AT

LLOYDS, and further requests the following relief:

              A. For all reasonable compensatory and consequential damages at law;

              B. For all recoverable punitive damages at law;

              C. For recoverable pre-judgment and post-judgment interest; and recoverable

                   attorney fees and costs; and

              D. For all other just and proper relief in the premises.




                                             11 of 12
2:21-cv-02923-DCN        Date Filed 09/10/21      Entry Number 1     Page 12 of 12




                                  JURY DEMAND

 Plaintiff, by counsel, demands trial by jury.



                                       Respectfully submitted,

                                       /s/ J. Christopher Pracht
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                                       12 of 12
